Case 3:24-cv-02267-L-BW           Document 14          Filed 01/31/25    Page 1 of 2      PageID 232



                           IN THE UNITED STATES DISTRICT COURT
                               NORTHERN DISTRICT OF TEXAS
                                     DALLAS DIVISION

 CELESTINE ANYANKA and                             §
 VERONICA ANYANKA,                                 §
                                                   §
         Plaintiffs,                               §
                                                   §
 v.                                                §      Civil Action No. 3:24-CV-2267-L-BW
                                                   §
 CAPITAL FUND REIT, LLC,                           §
                                                   §
         Defendant.                                §

                                                ORDER

         On December 23, 2024, The Findings, Conclusions and Recommendation of the United

 States Magistrate Judge (“Report”) (Doc. 13) was entered, recommending that the court grant

 Defendant’s Motion for Summary Judgment (Doc. 4) and dismiss with prejudice this action and

 all claims asserted by Plaintiffs for breach of contract and alleged violations of the Texas Property

 Code and Truth and Lending Act. Having concluded that Defendant is entitled to judgment as a

 matter of law on Plaintiffs’ substantive claims, the magistrate judge further concludes that

 Plaintiffs cannot satisfy the requirements for injunctive relief and, therefore, recommends that the

 court deny Plaintiffs’ request for injunctive relief. No objections to the Report were filed by

 Plaintiffs, who are represented by counsel.

         Having considered the Motion for Summary Judgment, file, record in this case, and Report,

 the court determines that the findings and conclusions of the magistrate judge are correct, and

 accepts them as those of the court. Accordingly, the court grants Defendant’s Motion for

 Summary Judgment (Doc. 4) and dismisses with prejudice Plaintiffs’ claims for breach of

 contract and alleged violations of the Texas Property Code and Truth and Lending Act. The court

 also denies Plaintiffs’ request for injunctive relief.


 Order – Page 1
Case 3:24-cv-02267-L-BW         Document 14       Filed 01/31/25   Page 2 of 2   PageID 233



        It is so ordered this 31st day of January, 2025.




                                                     _________________________________
                                                     Sam A. Lindsay
                                                     United States District Judge




 Order – Page 2
